Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 1 of 21 PagelD #:264
Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 26 of 46 PagelD #:147

John Howard Association of Illinois

yFS East Cheago Avenue, Sulte529 Chicago. 16061 1
Fel 312-503-6300 Fax 312-503-6306 worwthelhuorg

 

Fi
a
a
ea
v
Hi
#

Monitoring Visit to Stateville Correctional Center
7/13/2011

 

The John Howard Association (JHA) visited Stateville Correctional Center (Stateville) on
July 13, 2011. Stateville, a Level One maximum-security adult male facility, first opened
in 1925, It is located in Crest Hill, Wimois, about one hour southwest of Chicago.

  

Vital Statistics:

Population; J 608

Rated Capacity: 978

Average Annual Cost per Inmate: $32,693
Average Age; 35

(Source: IDOC, 12/4/11)

Key Observations:

* Stafeville is the most complex of ail Illincis’ prisons, containing general
population, segregation, and protective custody units, as well as housing inmates
on temporary-court and medical writs awaiting transfer. Stateville is also situated
next to the Northern Reception and Classification Center (NRC), the. major adult
male intake.dnd classification unit for the state of IHinois.

« Stateville“is home to the roundhouse, the only functioning panopticon in the.
United States.

  

* The racial makeup of Stateville’s population is roughly 69 percent African
American; 19 percent White; 12 percent Hispanic; and less than 1 percent Native
American and Asian.

 
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 2 of 21 PagelD #:265
Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 27 of 46 PagelD #:148
Monitoring Report of Stateville Correctional Center

July 13, 2011
Page 2 of 20

 

Monitoring Visit to Stateville Correctional Center
7/13/2011

Executive Summary

The John Howard Association (JHA) visited Stateville Correctional Center (Stateville} on
July 13, 2011. Stateville, a Level One maximum-security adult male facility, first opened
in 1925, Stateville is located in Crest Hill, Illinois, about one hour southwest of Chicago.
It contains 1,664 doubie-cclls in six units which house general population, segregation,
protective custody inmates and inmates on temporary court and medical writs awaiting
transfer. Stateville is situated next to the Northem Reception and Classification Center
(NRC), the major adult male intake and classification unit for the state of Wlinois. In
addition, NRC contains 4 minimum-security unit (MSU) that houses 344 inmates who
perform jobs at NRC and Stateville. This report covers Stateville and MSU. NRC is
addressed in a separate JHA report.’

On the date of THA‘s visit, Stateville and NRC together housed 3,319 inmates, well over

the combined rated-design capacity of 3,162 inmates. Of these, 1,596 inmates were

housed in Stateville, approximately 163 percent over that facility's rated capacity of 978

inmates. Since the time of JHLA’s visit in July 2011, Stateville and NRC's combined
" population has increased by roughly 400 more inmates.”

The population at Stateville cannot continue to increase at such a rate without dire
consequences. Stateville’s biggest challenges—severe overcrowding, understaffing, a
grossly deteriorating physical plant, lack of education and inmate programming, and lack
of resources to address these issues—are squarely beyond the control of the facility's
staff and administration. It is the responsibility of Minois* elected officials to find safe,
cost-effective ways to reduce the state’s prison population.

The effects of overcrowding, underfunding, and underslaffing were evident throughout
the facility, but most dramatically on display in housing unit_F, the panoptic

“roundhouse,” which holds 400 inmates in double-bunk cells designed to house one
person. The nearly 90-year old building, described in detail in the body of this report, has_
no place in a modern, civilized correctional system. Its grim conditions include persistent,
noxious noise-levels, substandard heating, cooling and air ventilation; infestations of
cockroaches and other pests; poor sanitation due to malfunctioning toilets, plumbing, and
showers that are pecling and decaying; broken and non-functioning windows: and a
physical plant that is overall dilapidated and falling apart. Because space is so limited and

 

j Monitoring Visit to Stateville Nomhem Reception & Classification Center 7/12/2011, available at

hito:/www.thefha.ore/NRC

? See Illinois Department of Corrections Quarterly Report, October 1, 2011, available at
http-/fwew idoc state jLus/subsections/renorts/auarterly reports/DOC pdf

 

 
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 3 of 21 PagelD #:266

. Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 28 of 46 PageID #:149
+ Monitoring Report of Stateville Correctional Center

- July 13, 207)
oS Page 3 of 20

the roundhouse holds multiple populations of varying security levels that must be kept
separate, orchestrating inmate movement can be very difficult for correctional staff. Until
recently, some staff, in a misguided effort to be more efficient, adopted the appalling
practice of showering two inmates at a time under one showerhead. On discovering this,
the current administration acted decisively to put a stop to this practice. However, JHA.
received reports from some inmates that this still occasionally occurs,

Subjecting inmates to such harsh, dehumanizing conditions has an injurious impact on
their safety and physical and mental well-being, and increases the likelihood of prison
violence.’ It also undermines public safety and welfare, as recent studies show that harsh
prison conditions do not improve inmates” post-release behavior, but tend to increase the
likelihood of recidivism.’ Further, poor prison conditions have a seriously deleterious
impact on correctional staff who must work in this environment, greatly increasing their
stress and workload pressure and making it more difficult for them to both monitor
inmates and safely and effectively perform their jobs. *

Lack of adequate staffing, particularly medical and mental health staff, is also a major
issue at Stateville. As detailed in the body of this report, Stateville is in desperate need of
more physicians, psychiatrists, nurses and medical technicians to meet the health needs of
a population that has a high incidence of serious mental and physical illness and is
tapidly aging. In the face of insufficient medical staffing and resources, there is litile
question that inmates with serious health problems are suffering and going without
adequate treatment at Stateville and facitities across the state.

As observed in prior JHA facility reports, this is a disaster in the making. Lack of
adequate access to healthcare in Ulinois prisons is not simply a humanitarian crisis. It is a
public health crisis, as the failure to properly treat inmates with disease and illness
endangers not only inmates and prison staff, but also the broader community to which
inmates return when they are released. Ultimately, it is the public that bears the brunt
when inmates with untreated infection and communicable diséase are reintroduced into
communities.”

 

> See Commission on Safety and Abuse in America’s Prisons, Executive Directives and Prison Violence
(2005), discussing how increased levels of inmate stress from harsh conditions are linked to increased
individual and collective acts of prison violence, available at http // www. prisoncommission.or gl
statements! tiompkins_douglas pdf,

4 See M. Keith Chang, Yale University and Cowles Foundation, Jesse M. Sapiro, University of Chicago
and NBER, Do Harsh Prison conditions Reduce Recidivism? : A Discontinuity Based Approach, available
at http: /faculty. som. yale -edu/keithchen/papers/Final_ ALERO7.pdf

> See David M. Bieric, The Impact of Prison Conditions on Staff Well-Being, International Journal of
Offender Therapy and Comparative Criminology (November 30, 2010).

© See John V, Jacobi, Prison Health Public Health: Obligations and Opportunities, 31 Am. 3. L. and Med.
447, 466-467 (2005), documenting how the failure of prisons to adequately treat mental and physical
illnesses is threatening the public with physical and financial harm, given that almost al} of the more than
two million persons incarcerated today will be released back into the community,

 
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 4 of 21 PagelD #:267

Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 29 of 46 PagelD #:150
Monitoring Report of Stateville Correctional Center
July 13,2011
Page 4 of 20

Recommendations:

{1} The Illinois Governor and General Assembly must reduce the prison population
through sentencing reform, enact a safe replacement for Meritorious Good Time,
and provide Stateville and other DOC facilities with the funding and staffing
needed to meet the population's basic medical and mental health needs. If such
action is not taken, if is al but inevitable that that this issue will end up being
iitigated in the courts.

(2) To address the needs of its population and provide a safe environment for inmates
to live and staff to work, Stateville needs more mental health, medical, and
clerical workers.

(3) Stateville should continue to explore ways to provide programming to its long-
term inmates, who are effectively barred from participating in educational and
vocational opportunities.

Introduction

This report examines the following issues: Housing & Living Conditions; Medical,
Mental Health & Dental Care, Segregation & Protective Custody; Minimum Security
Unit; Education, Programming, Jobs & Industries; Staffing Issues; Population & Facility
Demographics.

 

Stateville contains a total of 1,700 beds divided among six separate living units. Units B,
C,D,E, known as the “quarter units,” each occupy a fourth of a single housing structure
and house genera] population inmates. On the date of JHA’s visit, roughly 1,100 inmates
were double-celled in these quarter units.

Unit X, known as “X-house,” contains 96 beds. It houses protective custody inmates and
intnates who have newly arrived to Stateville and are awaiting orientation, On the date of
JHA’s visit, 83 protective custody inmates and four orientation inmates were housed in
X-house. X-house is the building where death row used to be located before it was moved
to Pontiac Correctional Center,’

Unit F, known as the “roundhouse,” is a panopticon-style structure built in 1925. It is
composed of a circular cell house surrounded by four tiers of cells with an armed guard
tower situated in the center of the building. A variety of inmate populations are housed
in the roundhouse, including segregation inmates, inmates transferred to Stateville on

 

"Tn 2011, Minois abolished death penalty, and Governor Quinn commuted the sentences of everyone on
death row to life in prison.
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 5 of 21 PagelD #:268

. - 1:15-cv- : iled: 09/14/15 Page 30 of 46 PagelD #:151
. CRBS oune ys06 iP tOF een ioe Elsa: g g

July 13, 2011
Page 5 of 20

court writs who are waiting to be transferred for court hearings, and overflow inmates
from general population and protective custody, The roundhouse has the Capacity to
house approximately 400 inmates and was full on the date of JHA’s visit.

in addition, Stateville contains several unused housing units that together could house an
additional 600 inmates in double-bed cells. Administrators previously explored whether
these unused units could be opened so as to allow them to close the roundhouse.
However, the idea was unworkable because these units require such a high number of
staff to operate that they are cost-prohibitive.

JHA had the opportunity to visit both the
<= roundhouse and X-house.

The Roundhouse

The roundhouse is the only functioning
panopticon in the United States (see left image).
The brainchild of 19th century British
philosopher Jeremy Bentham, panopticons have
a single center tower with rows of cells circled around it. The purpose of this design was
intended to make it easier for one observer to monitor large groups of inmates. Bentham
argued that the panopticon would also create “a new mode of obtaining power of mind
over nund,” as inmates would internalize the tower’s gaze and eventually learn to
monitor themselves.

 

Whatever lofty goals Bentham envisioned for his panopticons, the reality of the
roundhouse is far from ideal.” The most obvious, immediate problem presented by the
roundhouse is a terrible, dysfunctional design. In every respect the roundhouse seems
perfectly engineered to induce extreme aggravation, anxiety and stress among inmates
and staff. In fact, the inmates, staff, and administrators that JHA spoke with seemed to
universally despise the building. As one administrator expressed: “If we could take a
wrecking ball to the roundhouse tomorrow, we would gladly do it.”

The roundhouse’s acoustics amplify sound to such a degree that all that can be heard
upon entering is a deafening roar of yelling, talking and screaming and the persistent
sound of banging on metal and brick. Because ambient noise levels are so high, a person
in the roundhouse must raise his voice simply to be heard. In this chaotic, noisy
environment, correctional officers are seriously handicapped in their ability to listen for

signs of trouble or disturbance. The four-tiered cell design also makes it difficult for
correctional staff to quickly access inmates.

 

* See Jeremy Bentham, The Panopticon Writings, 2010.

"See Michel Foucault, Discipline and Punish: The Birth of the Prison, (95-228, (Alan Sheridan trans.,
Vintage Books 2 ed. 1995) (L977).
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 6 of 21 PagelD #:269
Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 31 of 46 Pagel #152

Monitoring Report of Stateville Correctional Center
July 13, 2011
Page 6 of 20

t
«

By virtue of the circular design, inmates are also deprived of any remote semblance of
privacy, as every inmate is constantly on display in his cell to the hundreds of other
inmates in the roundhouse, Privacy and personal space are usually limited quantities in
prisons due to safety issues. However, the roundhouse exacerbates lack of privacy by
eliminating any and all possibility for privacy or personal retreat by putting inmates
constantly on public display to a huge crowd of spectators. Without some privacy and
personal space, inmates become tense and react with increasing hostility. As tension and
hostility grow, security requirements likewise increase, creating a vicious cycle.'°

The roundhouse’s design is also costly and inefficient. Even the seemingly simple chore
of changing a light bulb can be a huge undertaking because the high ceiling requires
special equipment to accomplish this task on the fourth tier. The cells, originally
designed to house single inmates, now mostly house two inmates apiece and are cramped,
dilapidated and needing paint. Given the lack of insulation in the 1925 building,
temperatures in roundhouse tend to be very het in the summer and cold in the winter.

While the cells in the roundhouse contain small windows, these are also ill-designed to
meet the needs of prison housing. Because themetal handles needed to open and close
the windows posed a security threat and could be used as weapons, they had to be
removed. Consequently, inmates have little ability to control window access and outside
airflow in their cells.

The roundhouse showed every bit of its age on the date of JHA’s visit and appeared
decrepit and neglected. JHA observed broken windows in a number of inmates’ cells. To
keep out spiders and bugs, inmates had to place plastic and paper over the broken
windows. The administration reported that, in winter, inmates also place plastic bags over:
the windows to try to keep out drafts. While the administration acknowledged this
situation was far from ideal, it assured JHA that temperatures in all of Stateville’s
housing units are monitored in winter and are not allowed to go below 68 degrees. It is
unclear, however, how this can be reasonably and cost effectively maintained without
significant and immediate repair to the roundhouse.

Because the roundhouse must house multiple inmate populations of widely differing
security classifications, the logistics of moving inmates to and from yard times, visiting
rooms, showers and commissary is also complicated, as inmates in segregation, general
population and protective custody must be kept separate. On average, general population
inmates spend 21 to 22 hours a day in their cells, and are permitted a total of five two-
hour personal visits per month (four visits on weekdays; one on the weekend), and one
30-minute personal phone cali each week. However, general population inmates in the
roundhouse complained that they were treated more like segregation inmates in that their
privileges, commissary, and outside cell and shower times were more limited. While the
general population is supposed to eat breakfast in their cells and lunch and dinner in the

 

 

'? See U.S. Department of Justice, Nationat Institute of Corrections, Correctional Health Care: Guidelines
Jor the Management of an Adequate Delivery System, at 14 (December 2001).

 
 

Case? TI5-tV-0615T Documem #: 33-f Fited: 03/28/16 Page 7 of 24 PagelD #:270
Case: 1:15-cv-06151 Document # 11 Filed: 09/14/15 Page 32 of 46 PagelD #:153

Monitoring Report of Stateville Correctional Center
Joly 13,2011

ee

    

 

dining area, inmates in the roundhouse reported they sometimes are not let out but are
instead served lunch or dinner in their cell.

Most disturbingly, JHA learned that the pressure of having to orchestrate the movement
of disparate populations led some staff to adopt the disturbing practice of placing two
inmates at a time under one showerhead in a misguided effort to increase efficiency.
Multiple inmates complained to JHA of being double-showered in this fashion, JHA
adamantly disapproves of this practice as degrading, dehumanizing and dangerous.
Stateville’s administration agreed and has taken decisive action to end this practice,

The administration first discovered that the practice of double-showering was occurring
months prior to JHA’s visit and immediately issued a directive ordering staff to cease the
practice. The administration indicated that since issuing this directive, the practice has

declined sharply, although it still receives sporadic reports of staff double-showering
inmates,

 

 

To ensure that the practice ends entirely, the administration routinely walks though the
housing units, questions inmates, and encourages inmates to report any instance of
double-showering directly to the warden or the assistant wardens. JHA encourages the
administration to continue vigilant, ongoing efforts to ensure that this awful practice
desists.

      

es. Although inmates indicated they were careful to keep their

cells clean and free of open food items, this had no impact on the reach-infes(ation.
Numerous inmates also reported infestations of birds and mice in winter. Across the
board, inmates were extremely stressed at having to live and sleep in a noxious, pest-
infested environment.

 
 

Case: I°15-cv-061I5T Document #: 33-1 Filed? US/Z8716 Page 8 of ZI Paget #27 T
Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 33 of 46 PagelD #:154

Monitoring Report of Stateville Correctional Center
July 1

 

 

ineffective to treat the infestation. The administration has since been allowed to hire a
new vendor and is spraying two times a week to try and control the infestation. It
reported that these measures are beginning to show some positive results in reducing the
cockroach infestation.

JHA commends Stateville’s administration for taking steps to address the pest problem,
and encourages it to continue to do so. However, JHA remains extremely troubled by this
situation. Infestations of cockroaches, mice and birds have serious health implications for
inmates and staff because these are disease vectors. Further, living and working in
vermin-infested environments is not only unsanitary and unhealthy; it also generates
significant duress and tension for inmates and staff, which negatively impact the facility's
stability and security.

While spraying pesticides is an important component of pest control, fixing broken
windows and repairing cracks and holes in buildings fo prevent pests from entering is

      

importance of proper food storage and trash disposal and ensuring that inmates have

ready access to trash disposal, cleaning supplies and sealable storage containers could
potentially improve the situation. If the administration has not already explored
implementing such additional small measures to assist in pest control, JHA would
encourage it to do so.

Notably, several inmates reported to THA that it was difficult for them to obtain cleaning
supplies and hygiene products from staff. The. administration indicated it has a set
schedule for distributing cleaning and hygiene products to inmates once a week. It
acknowledged, however, that staff members are sometimes lax in handing out these
supplies. Ready access to cleaning and hygiene supplies is essential to good sanitation
and health. JHA believes that having staff sign a login sheet documenting the dates and
times that Cleaning and hygiene supplies were distributed could help to alleviate this
problem.

Plumbing

Another major housing issue reported by inmates in the roundhouse was malfunctioning
toilets in the cells. Specifically, inmates reported that as a result of poor water pressure
and/or or aging plumbing, there is a 10 to 15 minute delay from the time a toilet is
flushed to the time the water pressure builds up enough to allow the toilet to be flushed
again. Thus, double-celled inmates cannot quickly and reliably dispose of human waste
when they use the toilet in succession. Many inmates reported to JHA that they must
delay defecating for this reason. Inmates also reported that the showers in the roundhouse
were exceptionally dirty, peeling, molding.

 
 

Case Te is-CV-UoTaT DOCument F. 33-I Fired: Os/Z8710 Page J Of ZI Page #272
Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 34 of 46 PagelD #:155

Monitoring Report of Stateville Correctional Center
July 13, 201)
Page 9 of 20

Effective plumbing and sewage disposal are essential to eliminating disease pathogens,
particularly in crowded living quarters. Delaying defecation can have health substantial
consequences including abdominal pain, diverticuli, and hemorrhoids.’ Even assuming
the roundhouse’s plumbing meets applicable health standards, the morale and mental
well-being and inmates and staff are negatively impacted by having to live and work in
filthy conditions.

Absent a costly total overhaul of Stateville’s aging plumbing system, it is questionable
how this issue can begin to be effectively addressed. To the administration’s credit,
however, it reported that the showers in the roundhouse were actively in the process of
being actively scraped and repainted on the date of JHA’s visit.

X-House

JHA also had the opportunily to vistt X-house, which houses inmates in protective
custody. While X-house’s design does not present as many immediate physical plant
problems as the roundhouse, its cells are also shabby and dilapidated. One of the most
frequent reports heard from inmates in X-house, and from Stateville inmates in general,
concerned the poor condition of their sheets, bedding, pillows, and mattresses. Many of
the bedclothes and mattresses that JHA saw were threadbare, stained, frayed and in very
poor condition. One inmate displayed a pillow that had disintegrated entirely and was
crumbling into pieces. Another inmate indicated he had yet to be issued a pillow and was
using wadded up clothing as a substitute.

Other inmates reported that clothing sizes did not fit, so they were forced to try to modify
clothes on their own to try to make them wearable. One inmate that JHA interviewed
demonstrated the problem, showing us how he rolled and tied up his oversized pants to
keep them from dragging down,

JHA also received a significant number of reports from inmates distressed, at the poor
quality of the food, the absence of hot meals, and being routinely deprived of eating
utensils. Some inmates reported that they lost substantial amounts of weight on
transferring to Stateville and were underweight because food portions were so small and
unpalatable. More than a few inmates also reported the presence of mice, mice droppings
and roaches in the dietary unit, and a general lack of sanitation there. Several inmates
also complained that the food carts used for food delivery were dirty and unsanitary as
these same caris were also used to remove garbage and food waste. The administration
confirmed thal one set of carts previously was being used both to deliver food and to
remove garbage. However, the administration has since instituted a policy and schedule
to keep food carts and garbage removal carts separate and to have food carts washed once
a day.

 

"' See National Institutes of Health (NIH) Publication No, 95-2754, July 1995.
v=s

dent

SO ee aaa aa a ian

Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 35 of 46 PagelD #:156

Monitoring Report of Stateville Correctional Center
Joly 13,2011
Page 10 of 20

Some inmates also reported that access to commissary was sporadic and did not occur
two times a month as scheduled.

Providing inmates with clean, serviceable bedding and clothing is not a luxury, but a
basic living necessity. Adequate bedding and clothing are all the more essential to
Stateville’s inmates, given the coldness of the housing units Jn winter. Likewise, access to
hygiene products, sufficiently palatable food in appropriate portions, sanitary food
préparation and eating utensils are vital human needs.

 

Stateville has a 32-bed air-conditioned infirmary which includes the mental health unit
and eight suicide watch celis. The facility additionally contains a separate dialysis unit
and a small unit for providing physical therapy.

Medical, mental health, dental and eye care services are provided through a mixture of
state employees and private contractua] employees through Wexford Healthcare. On the
date of JHA’s visit, there were four inmates on suicide watch and one terminally ill
patient housed in the infirmary. Two inmates were receiving dialysis. To its credit,
despite the pressures of understaffing, Stateville’s administration ensures that inmates
housed in the infirmary for an extensive period have an opportunity for weekly yard time.

 

The infirmary appeared clean and tidy when JHA visited. However, the dialysis clinic
was rundown and poorly maintained. Parts of the floorboards had peeled away leaving
exposed noles. There was duct tape on some of the walls and the floor appeared dirty. A
large biohazard trashcan was positioned near the door with its contents exposed,
uncovered by any seal or lid.

The dialysis unit runs six days a week from 3 a.m. until 9 p.m., and can accommodate
three patients at a sitting. Inmates are shackled to their chairs during dialysis and at least
two correctional staff must be present for every three inmates. If the demand for dialysis
exceeds Stateville’s capacity, inmates are. sent to Graham Correctional Center for
ireatment as Graham also has a dialysis unit.

Stateville’s physical therapy room is open a few days a week, and treatment is limited to
large muscle therapy as there is not the staff or resources 10 provide intensive therapy.
Staff indicated that there is a backlog to be seen in physical therapy. Staff reported there
generally is a delay of two to four week from the time an inmate is referred for physical
therapy to the time he receives treatment. With respect to eye care, Stateville is staffed
with one part-time optometrist for a total of eight hours a week. Given this staffing level,

JHA was not surprised to hear from an inmate that he had been waiting almost two years
to obtain glasses.

 
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 11 of 21 PagelD #:274
Caseidahee OEE AG ROTC ER odd Fils g: 09/14/15 Page 36 of 46 PagelD #157

July 13,2011
Page 11 of 20

 

  
   
 
   

Remarkably, even at optimal staffing , , .
a an 4 +, | Number of Statesville Inmates Diagnosed with

levels, Stateville is authorized | ‘0 Chronic Disease and Illness (Reported
employ only two fulltime 11/30/12)
physicians. { ”
vist ”:
exten This leaves only asthma ;
one full-tim physi ian 37.5 hours Diabetes {Ll
per week) Hepatitis C 82

a HIV 16

Hypertension 423
| Tuberculosis 3

 

 

 

authorized for 31 full- time nurses GT J hours per week), only 13 of these positions were
Alled on the date of JHA’s Visit. This leaves & very low nurse to inmate ratio of 1: 123.
While author.

re filled. |

 

Although Stateville’s medical staffing levels may appear shockingly low, they are on par
with medical staffing levels at most Illinois prisons, Lack of adequate medical staffing is
‘a systemic problem throughout the Iflinais prison system, and Stateville is just another
example of this. Making matters even more difficult at Stateville, when staffing levels at
the adjoining Northern Reception and Classification Center (NRC) are low, medical staff
are often pulled from their duties at Stateville to perform duties at NRC, leaving only a
skeletal medical staff to serve Stateville’s population. Stateville’s administration also
tries its best to keep lockdowns to a minimum because inmates who. have chronic
diseases, like HIV and Hepatitis C, cannot be seen and treated at their regularly scheduled
appointments when the facility is on lockdown.

Under the circumstances, it was predictable that JHA received a very high y
reports ‘om.inmates of poor medical.care and.Jack of access to treatment.

     
   
   

going un-me! icated: prostate screening being denied to an elderly inmate after his father
died of prostate cancer; and an inmate being denied X-rays and treatment for a fractured
foot for several weeks. Numerous inmates reported substantial “enee Fanging from: one

ome inmates hypothesized the
deloys were the result of correctional staff not picking up sick call slips on a regular

basis. Others hypothesized that the medical staff simply “hated them.”
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 12 of 21 PagelD #:275

Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 37 of 46 PagelD #:158
Monitoring Report of Stateville Correctional Center
July 13,2014
Page 12 of 20

JHA has no information to either confirm or refute inmates’ individual complaints
regarding their healthcare experiences. However, the extremely high volume of medical
complaints; the inadequate level of medical staffing, and the overwhelming sense among
inmates of medical needs and physical suffering being met with indifference or hostility
all point to a healthcare delivery system collapsing under the weight of demand.

 

At Stateville, the challenge of providing adequate healthcare is even more daunting
because its inmate population is older, with a median age of 35, and includes more
elderly and long-term prisoners. According te one administrator, the greatest challenge
facing Stateville and DOC as a whole is this rapidly growing population of elderly
inmates and the rising healthcare costs to care for them. This administrator warned that a
crisis is on the horizon in Ilinois corrections because they simply did not have the
funding, housing, staffing, experience, or capacity to incarcerate a large elderly prisoner
population,

- Mental Health Care

Understaffing and lack of resources also challenge Stateville’s ability to provide adequate
mental health treatment to the population. At the time of JHA’s visit, 488 inmates were
under psychiatric care. Of these, 239 inmates were receiving psychotropic medication,
two involuntarily. Despite the high volume of inmates’ with mental illness, Stateville was
authorized and employed one full-time psychologist (40 hours per week) and one part-
time psychiatrist (30 hours per week). The majority of the psychologist’s caseload
consists of inmates in segregation.

A mental health staff member that JHA spoke with indicated that the facility's single
grealcst need is more psychiatrists and mental health professionals, Staff candidly
admitted that the mental health needs of Stateville’s population are nwch greater than the
facility can provide for. Staff also indicated that it is often difficult to find and retain
qualified mental health professionals because working in a prison environment with huge
patient caseloads and minimal resources is extremely stressful and demanding.
Stateville’s administration agreed that additional mental health staff were badly needed.

inmates receiving psychotropic medications are seen once a month by a psychiatrist for
medication checks during the first three months of treatment, and less frequently
thereafter. Staff reported that inmates who request to see a mental health professional are
usually seen within two to three days. Stateville does not provide substance abuse
treatment to inmates,

' Staff reported that Stateville’s population suffers from a wide variety of mental illnesses,
including a significant number of inmates with bipolar disorder and schizotypal disorders.
According to one staff, the severity of the mental illnesses and the number of inmates
with severe mental illness has greatly increased throughout DOC over the last decade,
coinciding with the closing of state mental hospitals and elimination of state, county, and
community mental health treatment centers. An administrator reported to JHA that the
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 13 of 21 PagelD #:276
Case: 1:1 5-cv-06 Da ument #1 Eiled: 09/14/15 Page 38 of 46 PagelD #:159

onitoring Report of Stateville Correctional Center
July 13, 2011
Page 13 of 20

number of inmates actually requiting and sporadically receiving some form of mental
health treatment at Stateville was probably closer to 900, or 56-percent of the population,

Another mental health staff member reported, however, that malingering is a big
problem. JHA has encountered similar beliefs among medical and mental health
professionals at other DOC facilities. This staff member did not specify how often
inmates engage in malingering, but was of the opinion that it occurred very frequently.
He explained that inmates had learned “legalese” and to mimic physical and psychiatric
symptoms in order to obtain “secondary gains,” like access to air conditioning in the
infirmary, psychotropic drugs or pain killers. :

JHA is troubled by the pronounced overemphasis on malingering among some DOC
healthcare staff. Research confirms that fear of inmate malingering can lead correctional
health care staff to under-medicate, umder-diagnose and under-treat serious pain and
illness in inmates, with disastrous consequences.'* Undoubtedly, there are a number of
immates in the prison healthcare system, as in other healthcare systems, that exaggerate
and feign symptoms of physical ar mental illness to obtain secondary gains. However, it
is also true that that manipulation and exaggeration are not per se inconsistent with
genuine physical and mental illness. Indeed, in facilities like Stateville, where medical
and mental health staff do not have the time or resources to adequately attend to inmates,
the only option left for sick inmates to get necessary treatment and attention may be
exaggeration or manipulation.'? This vicious cycle is likely to persist as long as medical
facility workers remain stressed due to understaffing; inmates. continue to be housed in
substandard conditions that adds to agitation, fear, and anger (see pg. 2); and inmates
continue to feel a lack of transparency in their health care.

 

Federal studies confirm that nearly half of persons in prison are in fact suffering from
mental illness. Further, persons in prison, often coming from backgrounds of severe
poverty, neglect and substance abuse, are less healthy that persons in the general public
and have higher rates of serious medical illness.'* In short, the clinical reality is that poor

 

12 See Michael S. Vaughn and Sue Carter Collins, Medical Malpractice in Correctional Facilities: State
Tort Remedies For Inappropriate and Inadequate Health Care Administered to Prisoners, The Prison
Journal vel. 84 no. 4 505-534 ( December 2004).

'? Homan Rights Watch, Ill-Equipped: U.S. Prisons and Offenders with Mental [ness ’at p.114,
bttp://wew hrw.ore/sites/default/files/reports/usa L003 odf,

“* According to the Bureau of Iustice Statistics, 56 percent of state prisoners and 45 percent of federal
prisoners have symptoms or a recent history of mental health problems. Further, prisoners have rates of
mental illness-including such serious disorders as schizophrenia, bipolar disorder, and major depression-
that are two to four times higher than members of the general public; 8 to 19 percent of prisoners have
psychiatric disorders that result in significant functional dis-abilities, and another 15 to 20 percent will
require some form of psychiatric intervention during their incarceration. In addition , accordin g toa repor
by the Commission on Safety and Abuse in America's Prisons, poverty, substance abuse, and years of poor
health care have left prisoners as a group much Jess healthy than average Americans: and inmates have
higher rates of infectious diseases and chronic illnesses, including hypertension, asthma, cardiovascular
disease, and diabetes. See Human Rights Watch: Afental Hlness, Human Rights and U8. Prisons available
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 14 of 21 PagelD #:277
Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 39 of 46 PagelD #:160
Monitoring Report of Stateville Correctional Center

July 13, 2011
Page 14 of 20

health, chronic disease and mental illness are endemic and not merely fictional for most
of the prison population.

Dental Care

Stateville is authorized for and employs two full-time dentists (40 hours per week), one
part-time dentist (32 hours per week) and one full-time dental hygienist (40 hours per
week), However, the administration reported that, pursuant to a labor contract, dental
staff are only required to work 20 hours per week. While the administration attempted to
renegotiate the contract to increase Stateville’s actual dental coverage, an agreement
could not be reached.

A dental staff member reported no waitlist for dentures or partial dentures, a six-month
waitlist for fillings, and a waitlist of several weeks for dental extractions. However, if an
inmate is in pain, staff tries to see him sooner.

‘There were four dental chairs in the unit, but one of the chairs was inoperable on the date
of JHA’s visit, In addition, the dental drili needed for fillmgs was not working. Thus,
inmates with appointments, who had waited months for fillings, had to be re-scheduled.
According to dental staff, one of greatest difficulties in meeting inmates’ dental needs is
the lack of reliable, functioning dental equipment, Because equipment, drills and dental
chairs are in constant use, they wear out very quickly. Staff reported that they are in
desperate need of new dental equipment because the existing equipment is old and
constantly breaking, which has made backlogs for dental treatment even longer.

A dentist that JHA spoke with emphasized the importance of providing inmates with
definite appointment dates, as this helped to relieve inmates’ anxiety and reassure them
that they would, in fact, be seen at some point, despite huge backlogs. From speaking
with and watching this dentist interact with inmates, it was clear to JHA that she cared
‘deeply about providing quality dental care to inmates and that the inmates under her care
felt respected and well-treated.

Segregation and Protective Custody

Stateville has the capacity to house a total of 162 inmates in segregation and 96 inmates
in protective custody. On the date of JHA’s visit, 137 inmates were in disciplinary
segregation and 83 inmates were in protective custody. While inmates in segregation and
protective custody are kept separate for all activities, they are treated virtually the same
with respect to out-of-cell time and privileges.

 

at hitp// waw. brw.ore! news/2009/09/22/ mental-illness- human-rights-and-us-prisons and Confronting
Confinement: A Report the Commission on Safety and Abuse in America’s Prisons, at http:// www.
VERADC. org/pdls/ Confronting_Confinement.pdf.

 
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 15 of 21 PagelD #:278
Case: 1;15-cv-06151 Document #: 11 Filed: 09/14/15 Page 40 of 46 PagelD #:161

Monitoring Report of Stateville Correctional Center
July 13, 2011
Page 15 of 20

Inmates in segregation come both from Stateville itself and from other correctional
facilities across Illinois. Stateville was designed and intended to hold inmates with six
months or less left to serve in segregation, while Pontiac Correctional Center was
intended to hold inmates with over six months segregation time. In the face of
overcrowding and an ever increasing inmate population, the average length of time for an
inmate in segregation at Stateville is now 13 months.

The administration reported that segregation inmates are permitted to shower three times
per week. However, JHA encountered several inmates who reported that showers
occurred one to two times a week. Notably, one segregation inmate reported that he had
been unable to shower for two weeks.

Segregation inmates are limited to one 30-minute phone call and two one-hour “no
contact” visiis per month. Only one of the visits may occur on the weekend; the other
must occur on a weekday. Segregation inmates are given one five-hour-block of yard
time one day per week. While it would be preferable to distribute the five hours of yard
time over several days to allow segregation inmates to leave thei cells more frequently,
Stateville’s space and staffing levels are simply insufficient to allow this.

At Stateville, as at other [linois facilities, prison jobs and educational and vocational
programming are very limited, and segregation inmates by and large are excluded from
participating in these entirely. Stateville’s segregation inmates thus spend the vast
majority of their time, roughly 23 to 24 hours a day, locked in their cells, socially isolated
and idle,

As previously documented in prior JHA reports, the trauma. of long-term social isolation,
environmental deprivation, and lack of physical and mental activity in segregation can
have serious, adverse physical and psychological effects on inmates, which, in turn, can
have a damaging, destabilizing effect on a facility as a whole by increasing inmates’
aggression, volatility and disruptive behavior.” At Stateville, the danger of segregation
inmates deteriorating mentally, physically and socially is great, given mental health
staff's report that a large portion of these inmates have mental illness.

One mental health staff member that JHA spoke with expressed the belief that
segregation was a, “therapeutic” for mentally ill inmates because it taught them “lessons
they missed growing up, such as how to ask for whal they need.” This staff dismissed
clinical concerns that segregation might exacerbate mental illness on the grounds that its
therapeutic value outweighed any “miniscule” counter-indications.

While JHA does not doubt the professional integrity of this staff member, it has grave
doubts about the professional viability of this judgment. A majority consensus in the
ficlds of medicine, corrections, mental health, and social sciences, supported by a large

 

15 < « . . : .
See Prison Overcrowding: Harmful Consequences and Dysfunctional Reactions, Testimony of Professor

Craig Haney, University of California, available at hiup/fMwww VERA DE > org/statements/haney craig pdf.
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 16 of 21 PagelD #:279
Case: 1:15-cv-06151 Document # 11 Filed: 09/14/15 Page 41 of 46 PagelD #:162
Monitoring Report of Stateville Correctional Center

July 33, 2013
Page 16 of 20

body of literature, establishes that segregation, particularly long-term segregation, has a
profoundly damaging impact on inmates’ mental health.'® A third party mental health
professional consulted by JHA confirms this assessment. Notably, most correctional staff
and administrators that JHA has spoken with, including an administrator at Stateville,
have expressed the opinion that the added stress of segregation often has a negative
impact on mentally ill inmates. JHA adheres to the position that the practice of using
prolonged segregation, particularly with regard to mentally il inmates, should be
abandoned at all DOC facilities, including Stateville.

To its credit, DOC’s administration, in partnership with the Vera Institute of Justice's
Segregation Reduction Project, has continued to work on devising and implementing a
plan to improve segregation conditions and reduce the use of segregation at Stateville and
statewide. JHA fully supports DOC’s ongoing efforts on this front.

Minimum Security Unit

The Minirnum Security Unit (MSU) has three buildings consisting of one multi-use unit
and two housing units. On the date of JHA’s visit, 182 inmates classified as Level 7 Gow-
Minimum security) were housed dormitory-style in Housing Unit One, and 162 inmates
classified as Level 5 (high minimum security) and Level 6 (minimum security) were
housed in Housing Unit Two. MSU inmates are permitted to have one one-hour visit with-
family.and friends each weekend. Most of the inmates in MSU have job assignments,
such as working in the kitchen or performing janitorial duties at NRC or Stateville. An
inmate who worked full time, seven days a week as a cook and a janitor reported to JHA
that he was paid $43.00 per month.

The MSU inmates that JHA spoke with uniformly reported that they worked seven days a
week and rarely had a day off of work. Understandably, inmates felt exhausted and were
frustrated with this situation. Although yard time is offered to MSU inmates two times a
week in the morning, most inmates never have the opportunity to go to yard because they
begin work at 5:00 a.m. An inmate explained that this was a serious dilemma because
yard time was one of the only outlets they had for stress relief.

The administration acknowledged that MSU inmates often work seven days a week
_ because their labor is much needed in NRC. However, the administration indicated that it

 

© See, e.g.,3. Metzner and J. Fellner, Solitary Confinement and Mental Illness in U.S. Prisons: A Challenge
for Medical Ethics, The Journal of the American Academy of Psychiatry and the Law, Volume 38, Number
1, (March 2010); Fred Cohen, Isolation in Penal settings: the Isclation-Restraint Paradigm, 22 Wash. U.
Journal of Law & Policy 295 (2006); Peter Scharff Smith, The Effects of Soittary Confinement an Prison
Inmates: A Brief History and Review of the Literature, 34 University of Chicago Crime and Justice (2006);
Holiy Miller and Glenn Young, Prison Segregation: Administrative Detention Remedy or Mental Health
Problem? Journal of Criminal Behavior and Mental Health, Volume 7, Issue 1 (2006).

7 See Vera Institute For Justice, Research Update: Segregation Reduction Project (November 2,2013}

 
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 17 of 21 PageID #:280

. Cagtirdihe epGbsed do skinenldiodd bdgd 09/14/15 Page 42 of 46 PagelD #:163
. July 13, 2011
Page 17 of 20

was making efforts to fill beds at MSU which would reduce the number of work days for
inmates and allow inmates to request a day off from work. JHA strongly encourages the
administration to promptly take whatever steps are necessary to ensure that MSU workers
are given days off from work each week and have the opportunity to relieve some stress
through yard time.

A substantial number of MSU inmates (as well Stateville inmates) additionally reported
that it sometimes took months for phone numbers to be added to their approved call lists.
Thus, they were unable to phone friends and family for a Jong period of time. Other MSU
inmates reported that access to commissary was and “hit or miss,” in that usually bad
access once a week, but sometimes went several weeks without commissary. Inmates also
reported that that mail delivery was often delayed by several weeks.

Education, Programming, Jobs & Industries

- Stateville offers little in the way of education, programming, vocational training or
industry jobs to inmates. The reason is not lack of enthusiasm on the part of the
administration, but the scarcity of funding and resources. Indeed, the administration __
expressed a strong conviction in the importance of education, job training and
rehabilitative programming for inmates. Its philosophy, as stated by the warden, is that
correctional institutions should truly be “correctional” and use education and
rehabilitation to “reprogram” inmates, taking out the “bad” and replacing it with “good.”
The reality is that administration has limited resources and must make “difficult choices”
to address the facility's most urgent needs. There currently is not the budget, space,
staffing, security or resources to put its rehabilitative philosophy into action.

At the time of JHA’s visit, twe Adult Basic Education (ABE) classes were offered, with a
total enrolment of 30 inmates. One GED class was offered, with a total enrollment of 25
inmates. In the preceding year, only nine inmates completed ABE and five obtained their
GED. The administration reported that waitlists for classes are “always over 100"
because there are so few instructors. The administration hoped to add an additional class
in the next month after it completed hiring a new instructor.

Unfortunately, an extremely successful and popular creative writing program that was
taught by a volunteer instructor was suspended the past year after the instructor passed
away. The administration intended to try to keep the creative writing program going, but
the logistics on how this would be accomplished had not yet been worked out. An art
class geared towards long-term offenders is also taught at Stateville. The administration
indicated that the waitlists for both the art and creative writing classes have always been
exceptionally long because there is a huge demand for these programs.

The administration recently added a small, new pilot program, the SMART program, led
by a volunteer instructor. The program teaches inmates stress reduction through yoga
breathing techniques and practical coping skills to help inmates accept responsibility for
their past actions and confront stressful situations more successfully in the future,

 
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 18 of 21 PageID #:281

Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 43 of 46 PagelD #:164
Monitoring Report of Stateville Correctional Center
July 13,2011
Page [8 of 20

Stateville’s administration was skeptical about the program initially, even though it was .
reported to have been very successful when used at Illinois River Correctional Center.
The administration indicated that it has since unequivocally embraced the SMART
program because it has seen real results in changing inmates” attitudes and behavior, and
has expanded the SMART program by retaining a second volunteer instructor to teach a
second class. There is a very long wait list to participate in the SMART program because
classes are small, the class is extremely popular, and only a handful of spots are available.

JHA commends the administration on its efforts to increase programming, particularly
through the use of volunteers, and strongly encourages if to continue to do so. Stateville
has a long and successful history of using volunteers to enhance inmate programming and
quality of life. In the face of budgetary and staffing cuts, increased reliance on volunteers
could allow increased educational and rehabilitative programming for inmates to the
greater benefit of the facility and the community at large when inmates are released.

As far as vocational training and jobs in industries, there are scarce opportunities for
inmates. There is a barber training class, with 16 inmates enrolled. There are a few
industry jobs employing roughly 25 inmates in making powdered soap and assembling
wooden office furniture. In addition, 60 inmates are employed in the kitchen at Stateville
and 36 are employed in the kitchen at NRC. An additional 57 inmates are also employed
performing various maintenance and janitorial duties at Stateville.

The administration estimated there were about 250 work detail assignments in total, 70 of
which were assigned to MSU inmates. According to the administration, the total number
of programming assignments is roughly 400.

As at other facilities, preference for programming, classes and jobs is usually given to
first time offenders and those with lesser sentences, Consequently, long-term prisoners
and prisoners serving natural life have practically no opportunities for programming, jobs
or education. This is unfortunate, as long-term prisoners can be an asset and stabilizing
force in prison and serve as constructive mentors to younger prisoners, particularly in
educational and program settings. '

Staffing Issues

One of the biggest staffing challenges for Stateville is having to share staff with NRC.
When new inmates arrive at NRC, correctional staff must be pulled from their duties at
Stateville fo process them through reception and classification. This leaves Stateville with
only a minimal, skeletal staff, therein limiting its operations and inmate movement to
what is basic and essential, which can interfere with inmates’ ability access to the
infirmary, yard, commissary, clinics, and the library.

 

*® See Robert Johnson and Ania Dobrzanska, Mature Coping Among Life-Sentenced Inmates: An
Exploratory Study of Adjustment Dynamics, Corrections Compendium (November , 2005) available at
htips.//www NCIRS gov/Agp/Publications/abstract aspx1D=234313; and John Irwin, Lifers: Seeking
Redemption in Prison, (Routledge) (2009).

 
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 19 of 21 PagelD #:282

OassicidSrepaAlkShieanmanttond died: 09/14/15 Page 44 of 46 PagelD #:165
Jaly 13, 2011
Page 19 of 20

Complicating matters further, because Stateville and NRC both lack sufficient clerical
and administrative support staff, six correctional officers must regularly be reassigned
from performing security duties to performing clerical work, Although authorized for 251
clerical/ administrative support staff, only 233 of these positions were filled on the date
of JHA’s visit.

From the perspective of inmates, Stateville’s biggest staffing problems incJude lack of
adequate paralegals and mail staff. At the time of JHA's visit, Stateville had only one
paralegal, assisted by a few inmate law clerks. A staff member frankly admitted this was
sot enough to address inmates’ legal needs. Bfforts are made to accommodate inmates by
prioritizing access to law library materials according to court filing deadlines. Inmates
can request a copy of a specific case. However, performing general legal researcit is
nearly impossible as the legal reference books available in the library are very outdated
and are no longer being updated because of the expense.

With respect to the mailroom, there were three mail staff vacancies at the time of JHA’s
visit. Consequently, there is a delay in the delivery and processing of incoming mail

of several weeks according to some inmates, one week according to the administration.
While this situation is not ideal, it is vastly improved since the time of JHA’s last visit to
Stateville in 2010, when the delay in processing incoming mail was several months. The
administration indicated that although it remains understaffed in the mailroom, it views
mail processing as a priority, and thus will transfer staff from other departments to the
mailroom in the event that mail] processing becomes seriously backlogged.

Population & Facility Demographics

_ The administration reports that, excluding those inmates sent to Stateville temporarily on
court and medical writs, the average length of stay for an inmate at Stateville is six and
one half years. The demographics of Stateville’s population by class of offense is as
follows: 1,118 inmates convicted of murder; 637 convicted of Class X offense; 537 ;
convicted of Class | offense; 689 convicted of Class 2 offense; 212 convicted of Class 3
offense; and 500 convicted of Class 4 offense.

The racial makeup of Stateville’s population is roughly 69 percent African American; 19
percent White; 12 percent Hispanic; and less than 1 percent Native American and Asian.

HHH
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 20 of 21 PagelD #:283
Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 45 of 46 PagelD #:166
Monitoring Report of Statevilie Correctional Center
July 13,2011
Page 20 of 20

This report was written by Maya Szilak, Director af the Prison Monitoring Project, for
the John Howard Assgciation. Maya may be reached at (312) 503-6302 or
mszilak @thejha.ore.

Contributing to this report were Megan Brady, JHA intern and citizen observers:
Angela Weis, Mariya Kodlova, Laurie Jo Reynolds and Scott Main,

Since 1901, JHA has provided public oversight of [Winois’ juvenile and adult correctional
facilities. Every year, JHA staff and trained volunteers inspect prisons, jails and detention
centers throughout the state. Based on these inspections, JHA regularly issues reports that
are instrumental in improving prison conditions.

# JHA’s work on healthcare in DOC is made possible through a generous
grant by the Michael Reese Health Trust.

 
Case: 1:15-cv-06151 Document #: 33-1 Filed: 03/28/16 Page 21 of 21 PageID #:284
Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 46 of 46 PagelD #:167

a INTHE . Ky.
Unded Blakes. Nsteck x auck Nacthern Nishiet
Ok Saecis Eeske Cr WNeecea

a vi udae: Thomes MM Durkuas
Faleazn co tixson

}

Piainuff/Petitioner }
j .

Vs. Nols & Gd)
j

‘ }
Defendant/Respondent }

PROOF/CERTIFICATE OF S ERVICE

To? Eamee Perresoootence, 10:
Alec KS Ot ASE. .

39 5. Near been

 

 

 

 

PLEASE TAKE NOTICE that on Sg0teokeR OL 20). | placed the
attached or enclosed documents in the institutional mail oo

at >soke Ae Correctional Center, properly addressed to the
parties sted above for mailing through the United States Postal Service

 

 

 

ots

Y S P- LS
Subscriped and swom to refore meth / dav of 20 j

Rote) Paste TYNEER BUTLER-WINTERS
| Notary Public - State ot Minas
q My Commission Expires 3/17/2019

 
  

—_

 

 

 

 

 
